Case 2:07-cr-02048-FVS   ECF No. 423   filed 10/03/08   PageID.1891 Page 1 of 6
Case 2:07-cr-02048-FVS   ECF No. 423   filed 10/03/08   PageID.1892 Page 2 of 6
Case 2:07-cr-02048-FVS   ECF No. 423   filed 10/03/08   PageID.1893 Page 3 of 6
Case 2:07-cr-02048-FVS   ECF No. 423   filed 10/03/08   PageID.1894 Page 4 of 6
Case 2:07-cr-02048-FVS   ECF No. 423   filed 10/03/08   PageID.1895 Page 5 of 6
Case 2:07-cr-02048-FVS   ECF No. 423   filed 10/03/08   PageID.1896 Page 6 of 6
